Case 1:19-cr-00286-AMD Document 279 Filed 03/29/22 Page 1 of 3 PageID #: 11134




                                                        March 29, 2022
   VIA ECF:
   The Honorable Ann M. Donnelly
   United States District Court Judge
   United States District Court, Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, New York 11201

                          Re:    United States v. Kelly, 19 CR 286 (AMD)

   Dear Judge Donnelly:

           Undersigned counsel respectfully moves this Court for an Order adjourning Mr.
   Kelly’s May 4, 2022, sentencing hearing until a date after his trial in the United States
   District Court for the Northern District of Illinois (“NDIL”) (United States v. Kelly, 19
   CR 567) which is scheduled to commence on August 1, 2022. Undersigned counsel
   represents Mr. Kelly in the NDIL case. Because one of the co-defendants in the NDIL
   case has demanded trial, District Court Judge Leinenweber has emphasized that the
   August 1 trial date is firm. Critically, undersigned counsel seeks an adjournment of the
   sentencing hearing in this case because she cannot adequately protect Mr. Kelly’s
   constitutional rights at sentencing in this case without compromising his Fifth
   Amendment rights in the NDIL case. The government objects.

           Undersigned counsel has an ethical and constitutional obligation to investigate
   and develop mitigation evidence for use at sentencing. Wiggins v. Smith, 539 U.S. 510
   (2003); Strickland v. Washington, 466 U.S. 668 (1984). See also, ABA Standards for
   Criminal Justice Standard 4-4.1(c) & (d) (stating that “Defense counsel’s investigative
   efforts should commence promptly and should explore appropriate avenues that
   reasonably might lead to information relevant to the merits of the matter, consequences of
   the criminal proceedings, and potential dispositions and penalties” and “Defense counsel
   should determine whether the client’s interests would be served by engaging fact
   investigators, forensic, accounting or other experts, or other professional witnesses such
   as sentencing specialists . . .) (emphasis added). The development and presentation of
   mitigation is a critically important part of sentencing, particularly after United States v.
   Booker, 543 U.S. 220 (2005) rendered the Federal Sentencing Guidelines advisory.
   Booker placed a renewed emphasis on the all-encompassing factors set forth in 18 U.S.C.
   § 3553(a) that a sentencing court may consider in fashioning an appropriate sentence for
   a defendant.
Case 1:19-cr-00286-AMD Document 279 Filed 03/29/22 Page 2 of 3 PageID #: 11135




           A preliminary sentencing investigation has revealed that Mr. Kelly himself is a
   rich source of mitigation that should be further developed, potentially with the aid of a
   mitigation expert. However, undersigned counsel has grave concerns that a
   comprehensive examination by a mitigation expert could interfere with Mr. Kelly’s Fifth
   Amendment guarantees in his NDIL case. To put a finer point on it, undersigned counsel
   cannot advise Mr. Kelly to be examined or interviewed by a mitigation expert for
   sentencing in this case if his words might be used against him in some manner at his
   pending NDIL trial. Mr. Kelly should not have to compromise his Fifth Amendment
   rights in his pending criminal case in NDIL to develop and present comprehensive
   mitigation evidence in the instant case. Accordingly, Mr. Kelly respectfully requests that
   this Court adjourn his sentencing hearing until after his NDIL trial.

           The government is not prejudiced by adjourning Mr. Kelly’s sentencing hearing
   three months. The request is reasonable given the constitutional issues at stake. Mr. Kelly
   is facing a serious and lengthy sentence of imprisonment; he should not have to forego
   presenting mitigation evidence at his sentencing hearing out of fear that his words could
   be used against him at his upcoming trial.

            The foregoing concerns aside, undersigned counsel seeks to adjourn the
   sentencing hearing for 60 days on account of competing professional obligations and
   because she has not had an adequate opportunity to develop mitigation in this case.
   Undersigned counsel is working diligently to prepare for Mr. Kelly’s sentencing hearing
   but is still focused on post-trial motions which will not be fully briefed until April 4,
   2022. Undersigned counsel has significant litigation scheduled over the next two months,
   including three post-conviction evidentiary hearings in the Circuit Court of Cook County,
   Illinois, People v. Nelson Gonzalez, 93 CR 18247; People v. Abrego & Cain, 99 CR 9739
   and People v. Maysonet, 92 CR 10146. Furthermore, undersigned counsel is commencing
   a two-week jury trial in Los Angeles County on May 23, 2022, in the matter of Huth v.
   Cosby, BC565560. Even if this Court refuses to adjourn sentencing until after Mr. Kelly’s
   NDIL trial, undersigned counsel respectfully requests an adjournment of 60 days so that
   she can satisfy her existing professional obligations while affording Mr. Kelly the
   effective assistance of counsel to which he is entitled.

                                                Respectfully Submitted,



                                                /s/JENNIFER BONJEAN
Case 1:19-cr-00286-AMD Document 279 Filed 03/29/22 Page 3 of 3 PageID #: 11136




   cc:   AUSA Elizabeth Geddes (via ECF)
         AUSA Maria Melendez Cruz (via ECF)
         AUSA Nadia Shihata (via ECF)
